Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14           Page 1 of 24 PageID 191


                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

SECURITIES AND EXCHANGE                    §
COMMISSION,                                §
                                           §
      Plaintiff,                           §
                                           §
v.                                         §   CIVIL ACTION NO. 3-09-CV 0298-N
                                           §
STANFORD INTERNATIONAL                     §
BANK, LTD., et al.,                        §
                                           §
      Defendants.                          §

             EXAMINER'S REPORT AND RECOMMENDATIONS NO. 8
                    AND REQUEST FOR STATUS CONFERENCE
            (Prosecution of Third Party Class Actions and Related Litigation)

March 11, 2014



                                               John J. Little
                                               Tex. Bar No. 12424230
                                               jlittle@lpf-law.com
                                               LITTLE PEDERSEN FANKHAUSER, LLP
                                               901 Main Street, Suite 4110
                                               Dallas, Texas 75202
                                               (214) 573-2300
                                               (214) 573-2323 [FAX]

                                               COURT-APPOINTED EXAMINER




EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                Page i
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                Page 2 of 24 PageID 192


                                  TABLE OF CONTENTS

                                                                                        Page

Table of Contents                                                                        ii

Table of Authorities                                                                     iv

A.     Summary                                                                           1

B.     Supreme Court Ruling                                                              2

       1.     Troice v. Willis of Colorado, Inc., et al., Civil Action No. 09-CV-1274    2

       2.     Troice v. Proskauer Rose, LLP, et al., Civil Action No. 09-1600            3

       3.     Chadbourne & Parke, LLP v. Troice, 571 U.S. ____,                          4
              134 S.Ct. 1058 (2014)

C.     Request for Status Conference                                                     4

       1.     Troice v. Willis of Colorado, Inc., et al., Civil Action No. 09-CV-1274    5
              Janvey v. Willis of Colorado, Inc., et al., Civil Action No. 13-CV-3980
              Ranni v. Willis of Colorado, Inc., et al., Civil Action No. 09-2042

       2.     Rotstain v. Trustmark National Bank, et al.,                               6
              Civil Action No. 09-CV-2384

       3.     Janvey v. Greenberg Traurig, LLP, et al.. Civil Action No. 12-CV-4641      7

       4.     OSIC v. Breazeale, Sachse & Wilson, LLP, et al., Civil Action No.          8
              11-CV-329 and Janvey v. Adams & Reese, et al.,
              Civil Action No. 12-CV-495

       5.     Troice v. Proskauer Rose, LLP, et al., Civil Action No. 09-CV-1600        10
              Janvey v. Proskauer Rose, LLP, et al., Civil Action No. 12-CV-644
              Janvey v. Proskauer Rose, LLP, et al., Civil Action No. 13-CV-477

       6.     Frank v. Antigua and Barbuda, Civil Action No. 09- CV – 2165              11
              OSIC v. Antigua and Barbuda, Civil Action No. 13- CV- 760

       7.     Turk v. Pershing, LLC, Civil Action No. 09-CV-2199, consolidated          12
              with Mendez v. Pershing LLC and Lockwood Advisors, Inc.,
              Civil Action No. 11-CV-314

       8.     Wilkinson v. BDO USA, LLP, et al., Civil Action No. 11-CV-1115            13
              OSIC v. BDO USA, LLP, et al., Civil Action No. 12-CV-1447

EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                        Page ii
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14             Page 3 of 24 PageID 193


                                                                                Page

      9.     Queyrouze, et al., v. Bank of Antigua, et al.,                     14
             Civil Action No. 10-CV-0304
             OSIC v. Bank of Antigua, et al., Civil Action No. 13-CV-762

D.    Matters to Address During Status Conference                               14

      1.     Consolidation of Certain Actions                                   15

      2.     Potential Remand of Certain Actions                                16

      3.     The Issuance of Scheduling Orders                                  17

      4.     The Parties’ Respective Views as to Priorities                     17

E.    Timing of Status Conference                                               17

F.    Conclusion                                                                18




EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                Page iii
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14         Page 4 of 24 PageID 194


                                TABLE OF AUTHORITIES

                                                                            Page

Chadbourne & Parke, LLP v. Troice, 571 U.S. ____,                            1, 4
134 S.Ct. 1058 (2014)

Chadbourne & Parke, LLP v. Troice, 133 S. Ct. 977 (2013)                     3, 4

Roland v. Green, 675 F.3d 503 (5th Cir. 2012)                               3, 18

Sup. Ct. R. 45.2                                                              18

Sup. Ct. R. 45.3                                                              18




EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)            Page iv
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                  Page 5 of 24 PageID 195


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

SECURITIES AND EXCHANGE                         §
COMMISSION,                                     §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §   CIVIL ACTION NO. 3-09-CV 0298-N
                                                §
STANFORD INTERNATIONAL                          §
BANK, LTD., et al.,                             §
                                                §
       Defendants.                              §

               EXAMINER'S REPORT AND RECOMMENDATIONS NO. 8
                      AND REQUEST FOR STATUS CONFERENCE
              (Prosecution of Third Party Class Actions and Related Litigation)

       As contemplated by the Court’s Order appointing the Examiner (Civil Action No. 09-

CV-0298, Doc. No. 322), John J. Little, Examiner, submits his Report and Recommendation No.

8 and Request for Status Conference (“Report No. 8”), addressing certain matters pertaining to

the prosecution of class action cases and related litigation for the benefit of the Receivership

Estate and the Investors.

                                       A.      Summary

       In this Report No. 8, the Examiner addresses the various third party class action lawsuits

that are pending in this Court and, where applicable, the related lawsuits that have been filed by

the Receiver and/or the Official Stanford Investors Committee (“OSIC”). Given the recent

ruling by the U.S. Supreme Court in Chadbourne & Parke, LLP v. Troice, 571 U.S. ____, 134 S.

Ct. 1058 (2014), those class action lawsuits are free to proceed in this Court. The Examiner

respectfully requests that this Court promptly schedule a status conference for the class action

lawsuits identified herein, together with the corresponding lawsuits brought by the Receiver

and/or the OSIC, to address (a) potential consolidation of certain of the lawsuits, (b) potential

EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                           Page 1
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                  Page 6 of 24 PageID 196


remand of certain actions, (c) scheduling issues, and (d) the parties’ respective views concerning

how this Court should prioritize the pending lawsuits. The Examiner has listed in the Conclusion

to this Report No. 8 the pending actions that he believes should participate in such a status

conference.

                                 B.      Supreme Court Ruling

       The Supreme Court’s ruling in Chadbourne & Parke, LLP v. Troice specifically

addresses two of the third party class action lawsuits pending in this Court: Troice v. Willis of

Colorado, Inc., et al., Civil Action No. 09-CV-1274, and Troice v. Proskauer Rose, LLP, Civil

Action No. 09-CV-1600. While the Willis and Proskauer Rose matters were on appeal to the

Fifth Circuit and the Supreme Court, other pending third party class actions have been formally

or informally stayed.

       1.      Troice v. Willis of Colorado, Inc., et al., Civil Action No. 09-CV-1274

       Troice v. Willis is a class action filed in 2009 against global insurance broker Willis

Group and Texas-based insurance broker Bowen Miclette & Britt by a group of Stanford

investors from Mexico and Latin America. The action seeks certification of a class of all

Stanford investors and claims damages on their behalf of $7.2 billion, with alternative subclasses

also alleged. The action alleges that the Defendants aided and abetted Stanford’s fraudulent

scheme to deceive investors around the world into believing that the SIBL CDs were insured by

issuing letters to investors touting said insurance coverage.

       On October 27, 2011, this Court granted the various motions to dismiss filed by the

Defendants, finding that the Securities Litigation Uniform Standards Act of 1998 (“SLUSA”)

precluded the action. Civil Action No. 09-1274, Doc. No. 155. The Court entered a final

judgment against the Plaintiffs. Id. at Doc. No. 156. Plaintiffs filed a Notice of Appeal on

October 28, 2011. On Plaintiffs’ motion, the 5th Circuit Court of Appeals consolidated the Willis

EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                           Page 2
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                 Page 7 of 24 PageID 197


appeal with two other cases and granted expedited consideration of the consolidated appeals.

On March 19, 2012, the 5th Circuit issued its opinion reversing this Court’s order. Roland v.

Green, 675 F.3d 503 (5th Cir. 2012). The 5th Circuit’s Judgment was filed in this Court on May

9, 2012. Civil Action No. 09-1274, Doc. No. 165.

       In July 2012, the Willis defendants filed petitions for writ of certiorari, which were

granted on January 18, 2013. 133 S.Ct. 977 (2013).

       2.     Troice v. Proskauer Rose, LLP, et al., Civil Action No. 09-1600

       This is a class action filed in 2009 against New York-based law firms Proskauer Rose,

LLP, and Chadbourne & Parke, LLP (and former partner Tom Sjoblom) by a group of Stanford

investors. The action seeks certification of a class of all Stanford investors and claims damages

on their behalf of $7.2 billion.    The action alleges that the Defendants aided and abetted

Stanford’s scheme to obstruct investigations by the SEC into Stanford’s CD sales program from

2005 through 2009.

       The Defendants filed motions to dismiss in late 2009. On October 21, 2011, the Court

(as it did in the Willis matter addressed above) granted the motions to dismiss, finding that

SLUSA precluded the action. Civil Action No. 09-1600, Doc. No. 96. Plaintiffs filed a notice of

appeal. The 5th Circuit consolidated the Proskauer Rose appeal with the Willis appeal and the

Roland appeal1 and granted expedited consideration of the consolidated appeals. On March 19,

2012, the 5th Circuit issued its opinion reversing this Court’s order. Roland v. Green, 675 F.3d

503 (5th Cir. 2012). The 5th Circuit’s Judgment was filed in this Court on May 9, 2012. Civil

Action No. 09-1600, Doc. No. 106.




1
       Roland v. Green, Civil Action No. 3:10-CV-224.


EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                          Page 3
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                  Page 8 of 24 PageID 198


        In July 2012, both Proskauer Rose LLP and Chadbourne & Parke, LLP filed petitions for

writ of certiorari to the United States Supreme Court to seek further review of the 5th Circuit’s

decision. On January 18, 2013, the United States Supreme Court granted the writs of certiorari.

133 S. Ct. 977 (Case Nos. 12-79, Chadbourne & Parke, LLP, 12-88, Proskauer Rose, LLP).

2013.

        3.     Chadbourne & Parke, LLP v. Troice, 571 U.S. ____, 134 S. Ct. 1058 (2014)

        The Supreme Court heard oral argument in the Willis and Proskauer Rose appeals on

October 7, 2013. On February 26, 2014, the Supreme Court issued its opinion affirming the 5th

Circuit and concluding that SLUSA did not preclude the state law-based class action lawsuits

brought against Willis, Proskauer Rose, LLP and Chadbourne & Park, LLP. A copy of the

Court’s majority opinion (by Justice Breyer), Justice Thomas’ concurrence, and the dissent of

Justices Kennedy and Alito is included in the Appendix to this Report at 4.

        The Supreme Court’s ruling permits the Willis and Proskauer Rose actions to proceed in

this Court. It also permits the other third party class action lawsuits that are pending in this

Court to proceed.

                             C.     Request for Status Conference

        At the status conference held on January 16, 2014, the Court indicated that it would hold

a status conference to address the pending class action lawsuits to consider, among other things,

what might be done to expedite those lawsuits. Transcript of Status Conference Proceedings,

January 16, 2014, at 27. In light of the Supreme Court’s ruling in Chadbourne & Parke, LLP v.

Troice, the Examiner respectfully requests that the Court promptly schedule a status conference

to address the pending third party class action lawsuits. The Examiner further submits that the

parties in the cases listed below should be invited to participate in such a status conference (the

Examiner has included in the Conclusion to this Report No. 8 a list of the actions that he believes

EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                            Page 4
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                       Page 9 of 24 PageID 199


should participate). For the Court’s convenience, the Examiner also summarizes his appreciation

of the current status of each of the cases:

        1.      Troice v. Willis of Colorado, Inc., et al., Civil Action No. 09-CV-1274

                Janvey v. Willis of Colorado, Inc., et al., Civil Action No. 13-CV-3980

                Ranni v. Willis of Colorado, Inc., et al., Civil Action No. 09-2042

        As described above, Troice v. Willis is a class action brought on behalf of SIB CD

investors. Motions to dismiss Plaintiffs Third Amended Complaint were filed in Troice v. Willis

by the defendants in May 2011. 2 Civil Action No. 09-CV-1274, Doc. No. 123 (Willis), Doc. No.

124 (Winter) and Doc. No. 127 (Bowen Miclette & Britt). Those motions are fully briefed.

        Defendants Amy Baranoucky and Willis Group Holdings Public Limited Company filed

motions to dismiss for lack of jurisdiction in response to the Plaintiffs’ First Amended

Complaint. Id. at Doc. Nos. 37 (Baranoucky) and 40 (Willis Group Holdings). The parties

engaged in certain jurisdictional discovery and ultimately entered into a Stipulation staying the

briefing with respect to those jurisdictional motions and certain related matters until after the

Court rules on the Defendants’ Merit-Based Motions to Dismiss. Id. at Doc. No. 109.3

        Ranni v. Willis is a class action brought on behalf of SIB CD investors “predominantly

from Venezuela and South America.” Civil Action No. 09-CV-2042, Doc. No. 1. It was

originally filed in the Southern District of Florida, Miami Division. It was transferred to this

Court by the Judicial Panel on Multidistrict Litigation (“JPML”). Pursuant to an Order entered

on August 17, 2012, defendant Willis of Colorado’s deadline for answering, moving or otherwise

responding to the plaintiff’s complaint was continued until sixty (60) days after the later of (1)


2
        Prior motions to dismiss were filed in response to prior versions of the complaint.
3
        The Examiner also notes that one other action, Casanova v. Willis of Colorado, Inc., et al., Civil
Action No. 10-1862, is stayed until sixty (60) days after the Court decides the pending motions to dismiss
in Troice v. Willis. See Civil Action No. 10-1862, Doc. 18.

EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                                  Page 5
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                  Page 10 of 24 PageID 200


the appointment of a lead plaintiff under the Private Securities Litigation Reform Act of 1995, or

(2) the filing of a consolidated amended complaint. Civil Action No. 09-CV-2042, Doc. No. 31.

       In Janvey v. Willis, the Receiver and the OSIC assert claims on behalf of the

Receivership Estate. Motions to dismiss were filed by the defendants on February 28, 2014.

Civil Action No. 13-CV-3980, Doc. No. 19 (Willis), Doc. No. 22 (Willis Group Holdings), Doc.

No. 25 (Baranoucky), Doc. No. 30 (Bowen Miclette & Britt) and Doc. No. 32 (Winter).

Pursuant to a stipulation filed by the parties on February 13, 2014, Doc. No. 18, plaintiffs will

file their responses to the motions to dismiss on or before April 29, 2014 and defendants will file

their reply briefs, if any, on or before May 29, 2014. The motions to dismiss will then be fully

briefed.4

       2.      Rotstain v. Trustmark National Bank, et al., Civil Action No. 09-CV-2384

       Rotstain v. Trustmark was originally filed in the 129th District Court of Harris County,

Texas and was removed to this Court in November 2009. Rotstain is a class action lawsuit

against The Toronto-Dominion Bank (“Toronto Dominion”), Trustmark National Bank

(“Trustmark”), Bank of Houston (“BoH”), HSBC Bank PLC (“HSBC”) and SG Private Banking

(Suisse) S. A. (“SocGen”). The defendant banks filed motions to dismiss the complaint on a

variety of jurisdictional and other theories. Civil Action No. 09-CV-2384, Doc. No. 28 (HSBC);

Doc. No. 31 (Toronto Dominion); Doc. No. 32 (SocGen); Doc. No. 36 (Trustmark); and Doc.

No. 39 (BoH). Those initial motions to dismiss are largely briefed. The original tort claim

alleged by the class plaintiffs in the class complaint was not briefed in response to the defendant

banks’ motions to dismiss. Instead, in light of this Court’s decision in Roland v. Green, to

dismiss that complaint under SLUSA, Civil Action No. 10-CV-224, Doc. No. 72, the class


4
         There are a number of other Stanford-related actions pending in this Court that are brought
against the Willis Defendants. Those actions are addressed below, in Section D.2 of this Report.

EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                             Page 6
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                         Page 11 of 24 PageID 201


plaintiffs requested that this Court enter an appealable Order dismissing their tort claim without

prejudice. Civil Action No. 09-CV-2384, Doc. No. 94.5 As a result of the Supreme Court’s

decision in Troice, all tort claims against the defendant banks can now be adjudicated by this

Court on a consolidated basis. 6

        The class plaintiffs also filed a motion to amend the class complaint to incorporate by

reference the claims asserted by OSIC against SocGen and Friedli (see below). Civil Action No.

09-CV-2384, Doc. No. 131. The motion to amend was not opposed by either SocGen or Friedli,

but is still pending.

        On December 6, 2012, the Court granted the OSIC’s motion to intervene in Rotstain.

Civil Action No. 09-2384, Doc. No. 129. The OSIC thereafter filed an intervenor’s complaint

against SocGen and Blaise Friedli asserting claims on behalf of the Receivership Estate, Doc.

No. 130, and a second intervenor’s complaint against Toronto Dominion, HSBC, Trustmark and

BoH, also asserting claims on behalf of the Receivership Estate. Doc. No. 133.

        The defendants each filed motions to dismiss the OSIC’s intervenor complaints. See

Civil Action No. 09-2384, Doc. No. 154 (BoH), Doc. No. 155 (HSBC), Doc. No. 157 (SocGen),

Doc. No. 159 (Toronto Dominion), Doc. No. 160 (Friedli) and Doc. No. 162 (Trustmark). Each

of those motions to dismiss is now fully briefed.

        3.      Janvey v. Greenberg Traurig, LLP, et al.. Civil Action No. 12-CV-4641

        Janvey v. Greenberg Traurig, LLP is an action that asserts both class action claims (on

behalf of a class of SIB CD purchasers) and claims on behalf of the Receivership Estate. Each

defendant filed a motion to dismiss, in whole or in part. Defendant Greenberg Traurig, LLP


5
        This Court did not enter the requested order.
6
        The tort claims asserted by the class plaintiffs are essentially identical to the tort claims asserted
by the OSIC. The OSIC’s tort claims have been fully briefed by the parties, so there likely is no need for
additional briefing to address the tort claims asserted by the class.

EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                                      Page 7
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                Page 12 of 24 PageID 202


moved to dismiss in part and otherwise filed an answer. Civil Action No. 12-CV-4641, Doc. No.

27 (Greenberg Traurig motion and answer); Doc. No. 49 (Hunton & Williams, LLP motion);

Doc. No. 56 (Yolanda Suarez motion). Those motions to dismiss are fully briefed.

       Defendants also filed motions seeking to join the Antiguan Joint Liquidators as parties to

this action, and defendant Greenberg Traurig, LLP, filed a counterclaim and third party claim

naming the Receiver and the Antiguan Joint Liquidators. See Civil Action No. 12-CV-4641,

Doc. No. 30 (Greenberg Motion to Join Joint Liquidators); Doc. No. 31 (Greenberg

Counterclaim and Third Party Action); Doc. No. 51 (Hunton Motion to Join Joint Liquidators);

Doc. No. 55 (Suarez Motion to Join Joint Liquidators). Those motions to join the Antiguan Joint

Liquidators are also fully briefed.

       The Receiver and the OSIC filed a motion to strike the counterclaim and third party

action filed by Greenberg. Civil Action No. 12-CV-4641, Doc. No. 59. That motion is fully

briefed.

       4.      OSIC v. Breazeale, Sachse & Wilson, LLP, et al., Civil Action No. 11-CV-329
               and
               Janvey v. Adams & Reese, et al., Civil Action No. 12-CV-495

       OSIC v. Breazeale, Sachse & Wilson, LLP, combines claims brought by OSIC on behalf

of the Receivership Estate and class action claims brought on behalf of a class of Stanford

investors who purchased SIBL CDs through their IRA accounts held at Stanford Trust Company

in Louisiana. The action originally named as defendants Adams & Reese, LLP; James Austin;

Breazeale, Sachse & Wilson, LLP; Claude Reynaud; J.D. Perry; Rebecca Hamric; Michael

Contorno; Louis Fournet; Jay Comeaux; Cordell Haymon; Thomas Frazer; Zack Parrish; Daniel




EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                          Page 8
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                   Page 13 of 24 PageID 203


Bogar; and Jason Green.7 Various defendants filed motions to dismiss the action. See Civil

Action No. 11-CV-329, Doc. No. 22 (Adams & Reese, LLP and James Austin); Doc. No. 24

(Contorno); Doc. No. 39 (Louis Fornet); Doc. No. 68 (Breazeale, Sachse & Wilson, LLP); Doc.

No. 71 (Claude Reynaud). Those motions to dismiss are fully briefed.

       In Janvey v. Adams & Reese, LLP, the Receiver and the OSIC brought claims on behalf

of the Receivership Estate against Adams & Reese, LLP, Breazeale Sachse & Wilson, LLP,

Robert Schmidt, James Austin, Claude F. Reynaud, Cordell Haymon and Thomas Frazer.

Motions to dismiss were filed by the various defendants. Civil Action No. 12-CV-495, Doc. No.

7 (Cordell Haymon and Thomas Frazer); Doc. No. 27 (Adams & Reese, LLP, Robert Schmidt

and James Austin); Doc. No. 30 (Breazeale, Sachse & Wilson, LLP); Doc. No. 34 (Claude

Reynaud). Those motions were fully briefed and this Court entered its Order with respect to

those motions on September 11, 2013. Id. at Doc. No. 58.

       In its Order, the Court dismissed the claims asserted against Adams & Reese, LLP,

Breazeale, Sachse & Wilson, LLP, Robert Schmidt, James Austin, and Claude Reynaud (in his

capacity as a partner of Breazeale, Sachse & Wilson, LLP). The Court dismissed certain of the

claims asserted against Claude F. Reynaud, Cordell Haymon and Thomas Frazer, 8 in their

capacities as directors of Stanford Trust Company, but denied the motions to dismiss against

those defendants as to the plaintiffs’ breach of fiduciary duty and conspiracy claims. The Court

also denied the motion to dismiss with respect to the plaintiffs’ respondeat superior claim against




7
         The claims against Cordell Haymon, Thomas Frazer and Rebecca Hamric were dismissed without
prejudice. Civil Action No. 11-CV-329, Doc. No. 63. Defendants J.D. Perry, Jay Comeaux, Zack
Parrish, Daniel Bogar and Jason Green have not appeared or answered in the action.
8
         Thomas Frazer died while this matter has been pending. The Plaintiffs have filed a motion to
substitute parties, Civil Action No. 09-CV-495, Doc. No. 69. That motion is now fully briefed.


EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                              Page 9
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                Page 14 of 24 PageID 204


Breazeale, Sachse & Wilson, LLP (concerning Reynaud’s service as a director of Stanford Trust

Company).

       Janvey v. Adams & Reese, LLP, is set for trial on October 27, 2014. Civil Action No. 12-

CV-495, Doc. No. 66. Plaintiffs recently filed an unopposed motion for leave to file a second

amended complaint. Id. at Doc. No. 91.

       5.     Troice v. Proskauer Rose, LLP, et al., Civil Action No. 09-CV-1600 and

              Janvey v. Proskauer Rose, LLP, et al., Civil Action No. 12-CV-644 and
              Janvey v. Proskauer Rose, LLP, et al., Civil Action No. 13-CV-477

       As described above, Troice v. Proskauer Rose, LLP, is a class action brought on behalf of

SIB CD investors in which Proskauer Rose, LLP, Chadbourne & Parke, LLP, Thomas V.

Sjoblom, and P. Mauricio Alvarado 9 are named as defendants. Motions to dismiss were filed by

the defendants in Troice v. Proskauer Rose in December 2009. Civil Action No. 09-CV-1600,

Doc. Nos. 29 (Chadbourne), Doc. No. 31 (Proskauer), Doc. No. 36 (Sjoblom) and Doc. No. 44

(Alvarado). The motions were fully briefed in March 2010.

       On January 27, 2012, the Receiver and the OSIC filed a complaint against Proskauer

Rose, LLP, Chadbourne & Parke, LLP, and Thomas V. Sjoblom in the District Court of the

District of Columbia. That action was transferred to this Court by the JPML on March 2, 2012.

Civil Action No. 12-CV-644, Doc. No. 11. Defendants filed motions to dismiss. Id. Doc. No. 49

(Chadbourne); Doc. No. 50 (Proskauer); and Doc. No. 53 (Sjoblom). Among other bases for

dismissal, defendants Chadbourne and Proskauer both challenged the existence of diversity

jurisdiction in the District of Columbia court. The plaintiffs responded by moving this Court for

a recommendation that the action be remanded to the District of Columbia. The motions to


9
       Thomas V. Sjoblom was a partner in both Proskauer Rose, LLP and Chadbourne & Parke, LLP.
P. Mauricio Alvarado worked for the Stanford Financial entities.


EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                         Page 10
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                     Page 15 of 24 PageID 205


dismiss were fully briefed. In an order dated August 21, 2013, this Court denied the motions to

dismiss and recommended that the action be remanded to the District of Columbia. Id. at Doc.

No. 71. The JPML subsequently entered its Order remanding the action to the District of

Columbia. Id. at Doc. No. 76.

        At present, the action is pending in the District Court for the District of Columbia under

Civil Action No. 1:12-CV-00155-CKK. The plaintiffs have filed a motion seeking to have the

action transferred back to this Court pursuant to 28 U.S.C. §1631. The defendants have filed an

opposition to that motion and a cross-motion seeking to have the action dismissed for lack of

jurisdiction.

        Because of the jurisdictional challenges raised by the defendants in Janvey v. Proskauer

Rose, LLP, the Receiver and the OSIC filed a second action in this Court against Proskauer Rose,

LLP, Chadbourne & Parke, LLP, and Thomas V. Sjoblom. That action is pending as Civil

Action No. 13-CV-477. Pursuant to a stipulation entered on March 8, 2013, the latter filed

action against these defendants was stayed pending the resolution of the remand to the District of

Columbia. Civil Action No. 13-CV-477, Doc. No. 13.

        Until the District Court for the District of Columbia acts, there is nothing for this Court to

do with respect to this action. 10

        6.      Frank v. Antigua and Barbuda, Civil Action No. 09- CV – 2165 and

                OSIC v. Antigua and Barbuda, Civil Action No. 13- CV- 760

        Frank v. Antigua and Barbuda is a class action originally filed in the Southern District of

Texas, Houston, Division. It is brought against the Commonwealth of Antigua and Barbuda on


10
         In both Proskauer Rose, LLP actions, there is a pending motion filed by the Receiver seeking to
substitute attorneys. See Civil Action No. 12-CV-644, Doc. No. 66; Civil Action No. 13-CV-477, Doc.
No. 33. The motion to substitute is fully briefed in both actions.


EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                               Page 11
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                  Page 16 of 24 PageID 206


behalf of a class of SIB CD investors. The action was transferred to this Court by the JPML.

Civil Action No. 09-CV-2165, Doc. No. 12. A motion to dismiss was filed by Antigua and

Barbuda on December 1, 2010. Civil Action No. 09-CV-2165, Doc. No. 26. That motion to

dismiss is fully briefed.

        In OSIC v. Antigua and Barbuda , the OSIC asserts claims against the Commonwealth of

Antigua and Barbuda on behalf of the Receivership Estate. A motion to dismiss was filed by

Antigua and Barbuda on January 27, 2014. Civil Action No. 13-CV-760, Doc. No. 11. Pursuant

to a stipulation filed by the parties on February 7, 2014, Doc. No. 11, the OSIC will file its

response to the motion to dismiss on or before March 28, 2014 and defendant will file its reply

brief, if any, on or before April 28, 2014. The motion to dismiss will then be fully briefed.

        7.      Turk v. Pershing, LLC, Civil Action No. 09-CV-2199
                consolidated with
                Mendez v. Pershing LLC and Lockwood Advisors, Inc.,
                Civil Action No. 11-CV-314

        Turk v. Pershing, LLC, is a class action filed in November 2009 by Texas and Florida

investors in SIBL CDs. Mendez v. Pershing LLC and Lockwood Advisors, Inc., is a class action

filed in February 2011 by Stanford investors. The action seeks certification of a class of

Stanford investors who purchased SIBL CDs through Stanford’s U.S. registered broker/dealer,

Stanford Group Company (“SGC”), and whose funds were wire transferred by Pershing to SIBL

to fund the purchase of SIBL CDs between December 27, 2005 and February 16, 2009, with

alternative subclasses also alleged.

        On July 2, 2012, the parties filed an agreed motion to consolidate the cases and to permit

the filing of an amended, consolidated complaint. Civil Action No. 09-CV-2199, Doc. No. 78.

The Court entered its order formally consolidating the cases into the Turk case on July 3, 2012.

Civil Action No. 09-CV-2199, Doc. No. 80.


EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                               Page 12
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                    Page 17 of 24 PageID 207


       Defendants filed a motion to dismiss the amended, consolidated complaint on August 2,

2012. Civil Action No. 09-2199, Doc. Nos. 84, 85. That motion to dismiss is fully briefed.

       There is no pending action that asserts Receivership claims against Pershing LLC or

Lockwood Advisors, Inc.

       8.      Wilkinson v. BDO USA, LLP, et al., Civil Action No. 11-CV-1115 and

               OSIC v. BDO USA, LLP, et al., Civil Action No. 12-CV-1447

       Wilkinson v. BDO USA is a class action filed against various entities affiliated with the

international accounting firm BDO. BDO USA, LLP, filed a motion to dismiss on August 12,

2011. Civil Action No. 12-CV-1447, Doc. No. 23. BDO International filed a motion to dismiss

on August 22, 2011. Id. at Doc. No. 28. Plaintiffs filed an amended complaint on September 2,

2011. Id. at Doc. No. 31. The action has been stayed by stipulation, pending the appeal of the

Troice v. Willis and Troice v. Proskauer matters, since September 15, 2011. Id. at Doc. No. 34.

The most recent such stipulation was entered on October 30, 2013, and provides that the stay will

continue until “30 days following the Supreme Court’s ruling.” Id. at Doc. No. 50. That

stipulation further provides that the parties are to file, within 14 days after expiration of the stay,

“a proposed case management order providing a filing schedule for any remaining pleadings,

motions or briefing directed toward the Complaint or the Amended Complaint.” Id.

       In OSIC v. BDO USA, LLP, the OSIC asserts claims against the various BDO-related

defendants on behalf of the Receivership Estate. OSIC v. BDO USA, LLP, has been stayed

pending the filing of an amended complaint by the OSIC. See Civil Action No. 12-CV-1447,

Doc. 15.




EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                               Page 13
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                   Page 18 of 24 PageID 208


       9.      Queyrouze, et al., v. Bank of Antigua, et al., Civil Action No. 10-CV-030411 and

               OSIC v. Bank of Antigua, et al., Civil Action No. 13-CV-762

       Queyrouze v. Bank of Antigua is a class action brought against various Caribbean-based

banks and the Commonwealth of Antigua and Barbuda. The Commonwealth of Antigua and

Barbuda has filed a motion to dismiss the action. Civil Action No. 10-304, Doc. 6. That motion

to dismiss is fully briefed. None of the other defendants12 in Queyrouze have appeared or

answered.

       In OSIC v. Bank of Antigua, et al., the OSIC asserts claims against various Caribbean-

based banks and the Commonwealth of Antigua and Barbuda on behalf of the Receivership

Estate. To date, no defendants13 have appeared or answered in that action. The OSIC has filed

affidavits of service with respect to defendants Antigua and Barbuda and Eastern Caribbean

Central Bank (“ECCB”). Civil Action No. 13-CV-762, Doc. Nos. 11, 12. The OSIC has

reached an agreement with those defendants concerning the filing and briefing of motions to

dismiss pursuant to which defendants will file their motions to dismiss on or before March 26,

2014, OSIC will respond on or before May 9, 2014, and defendants will file reply briefs on or

before May 30, 2014.

                     D.      Matters to Address During Status Conference

       The Examiner respectfully submits that the Court should consider the parties’ views as to

the following matters at the status conference requested in this Report No. 8.



11
       Bank of Antigua is named as a Defendant in both actions. Because Bank of Antigua is a
Receivership Entity, this Court’s litigation stay applies to the claims against Bank of Antigua.
12
       The other defendants are Bank of Antigua, Eastern Caribbean Central Bank, Antigua Commercial
Bank, St. Kitts-Nevis-Anguilla National Bank Ltd., Eastern Caribbean Financial Holdings Company Ltd.,
National Commercial Bank (SVG) Ltd., and National Bank of Dominica, Ltd.
13
       Defendants in OSIC v. Bank of Antigua are the same as the defendants in Queyrouze v. Bank of
Antigua.


EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                             Page 14
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                    Page 19 of 24 PageID 209


       1.      Consolidation of Certain Actions

       Two of the actions addressed above are already proceeding in a consolidated manner,

with both class claims and Receivership Estate claims (brought by the Receiver and/or OSIC)

combined in a single action. Those actions are Rotstain v. Trustmark, et al., Civil Action No. 09-

CV-2384, and Janvey v. Greenberg Traurig, LLP, et al., Civil Action No. 12-CV-4641.14 The

Examiner respectfully suggests that consolidation is likely appropriate for, and that the Court

should determine the parties’ views concerning the potential consolidation of, the following

groups of cases:

               a.      Troice v. Willis of Colorado, Inc., et al., Civil Action No. 09-CV-1274,
                       Janvey v. Willis of Colorado, Inc., et al., Civil Action No. 13-CV-3980,
                       and
                       Ranni v. Willis of Colorado, Inc., et al., Civil Action No. 09-2042;

               b.      Frank v. Antigua and Barbuda, Civil Action No. 09- CV – 2165 and
                       OSIC v. Antigua and Barbuda, Civil Action No. 13- CV- 760;

               c.      Wilkinson v. BDO USA, LLP, et al., Civil Action No. 11-CV-1115 and
                       OSIC v. BDO USA, LLP, et al., Civil Action No. 12-CV-1447;

               d.      Queyrouze, et al., v. Bank of Antigua, et al., Civil Action No. 10-CV-0304
                       and OSIC v. Bank of Antigua, et al., Civil Action No. 13-CV-762.

       With respect to the two matters involving Stanford Trust Company, OSIC v. Breazeale,

Sachse & Wilson, LLP, et al., Civil Action No. 11-CV-329 and Janvey v. Adams & Reese, et al.,

Civil Action No. 12-CV-495, the Examiner believes that consolidation is at least appropriate for

purposes of discovery. Such a consolidation will avoid unnecessary duplication as discovery

proceeds in those matters. Complete consolidation of the cases may not be appropriate because

Janvey v. Adams & Reese is set for trial in October 2014, while there are still fully briefed


14
        Turk v. Pershing, LLC, Civil Action No. 09-CV-2199, has also been consolidated, with Mendez v.
Pershing, LLC, Civil Action No. 11-CV-314. That consolidated action does not include any claims by
the Receivership Estate.


EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                              Page 15
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                    Page 20 of 24 PageID 210


motions to dismiss to be decided in OSIC v. Breazeale, Sachse & Wilson, LLP and no scheduling

order has been entered in that action.

       Additionally, this Court cannot now consider consolidation of the various actions brought

against Proskauer Rose, LLP and Chadbourne & Parke, LLP. Once the District Court for the

District of Columbia rules on the motions currently pending before it, consolidation of those

cases would be appropriate for this Court to consider.

       2.      Potential Remand of Certain Actions

       There are a number of other actions pending in this Court that were originally brought in

state courts, were removed to federal court and then transferred to this Court by the JPML.

Those actions assert no class claims. Some or all may now be ripe for remand to state court.

Those actions include:

               a.        Rishmague v. Winter, et al., Civil Action No. 11-CV-2024 (originally filed
                         in the 225th District Court of Bexar County, Texas). A motion to remand
                         was filed (Doc. No. 4) and is fully briefed.

               b.        MacArthur v. Winter, et al., Civil Action No. 13-CV-1449 (originally filed
                         in the 189th Court, Harris County, Texas). Plaintiffs filed a motion to stay
                         (Doc. No. 18) that has not been fully briefed. The parties entered a
                         stipulation staying the case until after the Supreme Court’s decision in
                         Troice (Doc. No. 19).

               c.        Ranni v. Willis Group Holdings, et al., Civil Action No. 13-2569
                         (originally filed in state court in Miami-Dade County, Florida). Plaintiffs
                         filed a motion to remand the action (Doc. No. 8) that is fully briefed. The
                         Court entered an Order staying the action pending the Supreme Court’s
                         ruling (Doc. No. 26).

               d.        Zacarias v. Willis Group Holdings, et al., Civil Action No. 13-2570
                         (originally filed in state court in Miami-Dade County, Florida). Plaintiffs
                         filed a motion to remand the action (Doc. No. 8) that is fully briefed. The
                         Court entered an Order staying the action pending the Supreme Court’s
                         ruling (Doc. No. 25).

               e.        Barbar v. Willis of Colorado, Inc., et al., Civil Action No. 13-2571
                         (originally filed in state court in Miami-Dade County, Florida). Plaintiffs
                         filed a motion to remand the action (Doc. No. 12) that is fully briefed.

EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                             Page 16
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                  Page 21 of 24 PageID 211


                       The Court entered an Order staying the action pending the Supreme
                       Court’s ruling (Doc. No. 29).

               f.      Gadala-Maria v. Willis Group Holdings, et al., Civil Action No. 13-2572
                       (originally filed in state court in Miami-Dade County, Florida). Plaintiffs
                       filed a motion to remand the action (Doc. No. 10) that is fully briefed.
                       The Court entered an Order staying the action pending the Supreme
                       Court’s ruling (Doc. No. 28).

               g.      Tisminesky v. Willis Group Holdings, et al., Civil Action No. 13-2573
                       (originally filed in state court in Miami-Dade County, Florida). Plaintiffs
                       filed a motion to remand the action (Doc. No. 7) that is fully briefed. The
                       Court entered an Order staying the action pending the Supreme Court’s
                       ruling (Doc. No. 25).

       3.      The Issuance of Scheduling Orders

       Many of the actions addressed in this Report No. 8 have been pending for almost five (5)

years. While there remain motions to dismiss that need to be decided in many of these actions,

the Examiner respectfully submits that the Court should enter scheduling orders in these actions

and permit discovery to begin. Stanford’s investors have waited long enough for their day in

court and should not suffer additional delays. The passage of time does not help the investors,

nor does it help witnesses who will be needed to testify in these actions.

       4.      The Parties’ Respective Views as to Priorities.

       As the Court did in its last status conference, it should solicit from the parties their

respective views concerning how it might best prioritize the various matters that need to be

addressed by the Court in these class action and related cases.

                              E.      Timing of Status Conference

       The Examiner respectfully suggests and requests that the Court schedule a status

conference at its first opportunity. Defendants in the Willis matter and the Proskauer Rose

matter already have sent letters to the Court requesting a status conference. See Civil Action No.

09-CV-1274, Doc. No. 177 (letter from counsel to Willis); Civil Action No. 09-CV-1600, Doc.


EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                           Page 17
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                      Page 22 of 24 PageID 212


122 (letter from counsel to Chadbourne & Parke, LLP). Those matters were the only two

involved in the Supreme Court decision that remain before this Court; all of the other matters

addressed in this Report No. 8 have been stayed, formally or informally, pending the Supreme

Court’s ruling in Chadbourne & Parke, LLP, v. Troice.

        The Examiner does not believe that this Court needs to await any Mandate from the

Supreme Court (via the 5th Circuit) before proceeding with a status conference. Supreme Court

Rule 45.3 suggests that no Mandate is to be expected with respect to the Willis or Proskauer

appeals:

        In a case on review from any court of the United States, as defined by 28 U.S.C.
        §451, a formal mandate does not issue unless specifically directed; instead, the
        Clerk of this Court will send the clerk of the lower court [here, the 5 th Circuit] a
        copy of the opinion or order of this Court and a certified copy of the judgment.

Sup. Ct. R. 45.3.15 Because the Supreme Court affirmed the 5th Circuit’s decision in Roland v.

Green, 675 F.3d 503 (5th Cir. 2012), the 5th Circuit’s Judgments in Willis, Civil Action No. 09-

1274, Doc. No. 165, and Proskauer, Civil Action No. 09-1600, Doc. No. 106, remain effective

and binding upon this Court..

                                     F.       Conclusion

        In this Report No. 8, the Examiner recommends that the Court promptly schedule a status

conference to address the class action lawsuits identified below, together with the corresponding

lawsuits brought by the Receiver and/or the OSIC, to address (a) potential consolidation of

certain of the lawsuits, (b) potential remand of certain actions, (c) scheduling issues, and (d) the

parties’ respective views concerning how this Court should prioritize the pending lawsuits.




15
        By way of contrast, a mandate does issue, 25 days after judgment, in cases on review from a state
court. Sup. Ct. R. 45.2.


EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                                Page 18
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14              Page 23 of 24 PageID 213


               Class Action Lawsuits and Related Receiver/OSIC Lawsuits

      1.    Troice v. Willis of Colorado, Inc., et al., Civil Action No. 09-CV-1274
            Janvey v. Willis of Colorado, Inc., et al., Civil Action No. 13-CV-3980
            Ranni v. Willis of Colorado, Inc., et al., Civil Action No. 09-2042

      2.    Rotstain v. Trustmark National Bank, et al., Civil Action No. 09-CV-2384

      3.    Janvey v. Greenberg Traurig, LLP, et al.. Civil Action No. 12-CV-4641

      4.    OSIC v. Breazeale, Sachse & Wilson, LLP, et al., Civil Action No. 11-CV-329
            Janvey v. Adams & Reese, et al., Civil Action No. 12-CV-495

      5.    Troice v. Proskauer Rose, LLP, et al., Civil Action No. 09-CV-1600
            Janvey v. Proskauer Rose, LLP, et al., Civil Action No. 12-CV-644
            Janvey v. Proskauer Rose, LLP, et al., Civil Action No. 13-CV-477

      6.    Frank v. Antigua and Barbuda, Civil Action No. 09- CV – 2165
            OSIC v. Antigua and Barbuda, Civil Action No. 13- CV- 760

      7.    Turk v. Pershing, LLC, Civil Action No. 09-CV-2199, consolidated with
            Mendez v. Pershing LLC and Lockwood Advisors, Inc.,
            Civil Action No. 11-CV-314

      8.    Wilkinson v. BDO USA, LLP, et al., Civil Action No. 11-CV-1115
            OSIC v. BDO USA, LLP, et al., Civil Action No. 12-CV-1447

      9.    Queyrouze, et al., v. Bank of Antigua, et al., Civil Action No. 10-CV-0304
            OSIC v. Bank of Antigua, et al., Civil Action No. 13-CV-762

                      Lawsuits Where Remand May Be Appropriate

      1.    Rishmague v. Winter, et al., Civil Action No. 11-CV-2024

      2.    MacArthur v. Winter, et al., Civil Action No. 13-CV-1449

      3.    Ranni v. Willis Group Holdings, et al., Civil Action No. 13-2569

      4.    Zacarias v. Willis Group Holdings, et al., Civil Action No. 13-2570

      5.    Barbar v. Willis of Colorado, Inc., et al., Civil Action No. 13-2571

      6.    Gadala-Maria v. Willis Group Holdings, et al., Civil Action No. 13-2572

      7.    Tisminesky v. Willis Group Holdings, et al., Civil Action No. 13-2573



EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                        Page 19
Case 3:12-cv-01447-N-BG Document 28 Filed 03/11/14                   Page 24 of 24 PageID 214


                                                     Respectfully submitted,

                                                     ____/s/ John J. Little____
                                                             John J. Little
                                                             Tex. Bar No. 12424230
                                                     LITTLE PEDERSEN FANKHAUSER, LLP
                                                     901 Main Street, Suite 4110
                                                     Dallas, Texas 75202
                                                     (214) 573-2300
                                                     (214) 573-2323 [FAX]

                                                     COURT-APPOINTED EXAMINER




                                 CERTIFICATE OF SERVICE

        On March 11, 2014, I electronically submitted the foregoing document to the clerk of the
court of the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                     /s/ John J. Little




EXAMINER'S REPORT NO. 8
(PROSECUTION OF THIRD PARTY CLASS ACTIONS AND RELATED LITIGATION)                            Page 20
